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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                        )

                                                )
               v.
                                                )            Case No. 5:24-cr-00097-TPB-PRL-1

DANIEL BALL,                                    )

                      Defendant.                )

            UNOPPOSED MOTION FOR COUNSEL’S VIRTUAL APPEARANCE
                  AT INITIAL APPEARANCE AND ARRAIGNMENT

       Daniel Ball, by and through undersigned counsel, respectfully requests for this Honorable

Court to permit the undersigned to appear at the initial appearance and arraignment on February

4, 2025 at 2:15 p.m. in the above-listed matter by way of video teleconference (or another virtual

means). In support of this Unopposed Motion, counsel submits the following:

       1.      On August 6, 2024, a grand jury in the Middle District of Florida returned an

indictment against Mr. Ball charging one count of Felon in Possession, under 18 U.S.C. §

922(g)(1).

       2.      On January 22, 2025, an initial appearance was held before a magistrate judge in

the U.S. District Court for the District of Columbia, during which the magistrate judge ordered

Mr. Ball’s transport to the Middle District of Florida for the instant case. See United States v.

Daniel Ball, No. 1:25-mj-00016-GMH-1, Minute Entry (Jan. 22, 2025); see also id., ECF No. 4.

As of late last week, Mr. Ball is being held at the Orange County Jail.

       3.      In addition to a court’s inherent authority which allows it to conduct proceedings

in the interest of judicial economy and otherwise, the Federal Rules of Criminal Procedure permit

the Court to utilize video teleconferencing or other virtual means to hold hearings, including an



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initial appearance and arraignment. See, e.g., Fed. R. Crim. P. 5(g) (permitting video

teleconferencing in the context of an initial appearance where a defendant consents); Fed. R. Crim.

P. 10(c) (permitting video teleconferencing in the context of an arraignment where a defendant

consents).

       4.      We have been negotiating a potential dismissal in the instant matter based on, inter

alia, the presidential proclamation signed on January 20, 2025. See ECF No. 15. As of January

31, 2025, the government has agreed to consider resolving the instant case via a dismissal with

prejudice under the presidential proclamation. The government does not yet have an update on its

position, but we understand it could have an update any day now.

       5.      The undersigned is based out of the D.C.-metro area and would have to book flights

from D.C. to an airport in Florida to ensure her ability to appear in person at the initial appearance

and arraignment.

       6.      Given the tragic plane and helicopter crash last week in D.C., we understand that

there are circumstances that make flight delays and cancelations more likely, such as the fact that

some runways are closed. See, e.g., Logan Reardon, “Is DCA open? What travelers should know

about Reagan National Airport after crash,” NBC WASHINGTON (Jan. 31, 2025),

https://www.nbcwashington.com/news/local/is-dca-open-what-travelers-should-know-about-

reagan-national-airport-after-crash/3830389/.

       7.      Counsel’s virtual appearance would prevent undue financial hardship for the

defense and would be in the interest of judicial economy, particularly in light of the fact that the

government might be moving to dismiss the instant case prior to the initial appearance and

arraignment.




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       8.      Accordingly, we would respectfully request that this Honorable Court permit the

undersigned to appear at the initial appearance and arraignment on February 4, 2025 at 2:15 p.m.

in the above-listed matter by way of video teleconference or another virtual means.

       9.      In the accompanying Waiver, Mr. Ball has provided written consent for the

undersigned to appear virtually at the arraignment, initial appearance, and/or status hearings.

       10.     The government does not oppose our request for the undersigned to appear for the

initial appearance and arraignment virtually.

       WHEREFORE, for the foregoing reasons, Daniel Ball, by and through undersigned

counsel, requests the above-mentioned relief.



                                                     Respectfully submitted,

                                                     _________/s/_______________
                                                     Amy C. Collins
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                                                     Counsel for Daniel Ball


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 3rd day of February 2025, I have served this Unopposed

Motion upon all parties in this matter through the CM/ECF system.


                                                     _________/s/_______________
                                                     Amy C. Collins




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